Case 2:05-cv-02374-BBD-dkv Document 13 Filed 08/17/05 Page 1 of 2 Page|D 17

Fll.E£) BY %_ D,c_

IN THE UNITED STATES DISTRICT COURT 05 AUG n m '0_ 22
FOR THE WESTERN DISTRICT OF TENNESSEE '

WESTERN DIVIsIoN "@"“’““3 M- gm
cith us easement
mem :..t:ria,@tts

 

GLOBAL GRANITE & MARBLE LLC.,
Plaintiff, Case No.: 05-2374 D V
v.

GLOBAL GRANITE STONE & SUPPLY
LLC.,

Defendant.

 

ORDER ON MOTION FOR PRELIMINARY INJUNCTION
AND ORDER DISMISSING CASE

 

Before the court is the May 19, 2005, Motion for Preliminary Injunction (Docket # 2). Based
on the August 4, 2005 Notice of Dismissal, the motion for injunctive relief is dismissed as moot.
Further, pursuant to the Notice of Voluntary Dismissal, the instant case is dismissed and the

Clerk is ordered to enter judgment accordingly
IT ls so oRDERED this ¢(0 /£`day of¢ 2¢¢( ¢¢_L, 2005.

CE BOUIE ONALD
ED STATES DISTRICT IUDGE

 
 
 
 

  

This document entered on the docket sheet ln compliance
Wim nme ss and/or 79{@) FncP on é '/ ;Q§ /

§§

 

Dl IT oURT - WESTENR DISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:05-CV-02374 Was distributed by faX, mail, or direct printing on

August 18, 2005 to the parties listed.

 

John W. Campbell

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

1\/1emphis7 TN 38103

Harold H. Davis

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

